Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 1 of 13

E-FILED DACV 122471 - 2021 AUG 19 11:33 AM JASPER
CLERK OF DISTRICT COURT Page 1 of 4

IN THE DISTRICT COURT FOR JASPER COUNTY

05501 DACV122471
ORDER OF PROTECTION Judge: McCall
County JASPER State IOWA

 

This order can be verified during business
hours with Jasper County Clerk of Court TEMPORARY PROTECTIVE ORDER
at (641)792-3255 or with the Jasper (Section 236.3 Petition)
County Sheriff at (641)792-5912 or
ISSUE DATE: 08/19/21

 

 

 

PETITIONER/PROTECTED PARTY: Other Protected Persons:
a
————
VS.
RESPONDENT/DEFENDANT: RESPONDENT Date of Birth
NATHAN MICHAEL WINTERS Address for Respondeni (not shared with

Protected Party}

THE COURT HEREBY FINDS:
It has jurisdiction over the parties and subject matter. Additional findings are set forth below.

THE COURT HEREBY ORDERS:

The above named Respondent is restrained from committing further acts of abuse or threats of
abuse. The above named Respondent is restrained from any contact with the Petitioner/Protected
Party. Additional terms of this order and exceptions to the above provisions are as set forth
below.

This order is effective upon service on Respondent. It shall-remain in effect unti! modified, terminated
or superseded by a later written order, or until the dismissal of the case, but in no event for more than
one year.

WARNINGS TO RESPONDENT:

This order shall be enforced, even without registration, by the courts of any state, the District
of Columbia, and U. 5S. Territory, and any tribal jurisdiction. 18 U.S. C 2265. Crossing state,
territorial, or tribal boundaries to violate this order may result in federal imprisonment. 18
U.S.C. 2262. Only the court can change this order.

NOTICE FOR LAW ENFORCEMENT:

If checked, The Respondent will be provided with
CAUTION : FIREARMS WARNING reasonable notice and opportunity to
for Law Enforcement be heard. See page 2, paragraph 8.

The court has considered the petition for Relief from Domestic Abuse and finds that a temporary
protective order under lowa Code section 236.4(2) is necessary to protect the Protected Party named
above. :

Therefore, the court ORDERS as follows: oe

*. Respondent shall not threaten, assault, stalk, molest, attack, harass, or otherwise abuse
the Protected Party. Respondent shall not use, or attempt to use, or threaten to use physical force
against the protected party that would reasonably be expected to cause bodily injury.

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 2 of 13

E-FiLED DACV 122471 - 2021 AUG 19 11:33 AM JASPER
CLERK OF DISTRICT COURT ' Page 2 of 4

* Respondent shall stay away from the protected party and shall not be in that party's presence
except in a courtroom during court hearings.
* Respondent shall not communicate with the protected party in person or through any means
including third persons. This restriction shal! not prohibit communication through legal counsel.
__ * The Protected Party shall have exclusive possession of the residence located at Qi
GE Respondent shall not go to, enter, occupy or remain in that
residence or any other residence in which the Protected Party is staying, under any circumstance.

Respondent shall turn over to the sheriff all devices that allow access or entry to the residence or
outbuildings (for example, keys or garage openers).

Unless modified by order filed in this proceeding or in a juvenile court proceeding affecting the same
children, this temporary order shall prevail over any other existing custody order. The issue of
visitation will be addressed at the hearing mentioned below. Until such time, respondent shall not
contact these children and shall not contact the Protected Party about visitation.

* The parties have no children together.

* A RESPONDENT WHO VIOLATES THIS ORDER FACES IMMEDIATE ARREST. Violation
may occur even if the Protected Party consents to conduct that is prohibited by this order. Only the
court can relieve respondent from the restrictions contained in this order.

*  Ahearing on Domestic Abuse is scheduled on 08/31/2021 at 10:30 AM at the Jasper
Co. Courthouse, 101 1st ST N, RM 305 Newton IA 50208. , to decide if a final protective order
should be entered. Failure of the Respondent to appear may result in.a final protective order being
entered against the Respondent. Failure of the Protected Party to appear may result in the case
being dismissed. Each party has the right to be represented by an attorney at this hearing. The
parties shall bring copies of any existing child custody orders to the hearing.

“The court finds, pursuant to lowa Code section 236.10, that to protect the safety or privacy of
the Protected Party and/or the Protected Party's children, the clerk of court shall until further order of
the court:
seal the eniire file from public access, other than court orders and child support payment records.

The indices available at the clerk's office or through lowa Courts Information System (ICIS) shall
remain open.

* The Respondent may be required to relinquish all firearms, offensive weapons, and
ammunition Upon issuance of a permanent protective order.-

[¥] The Jasper County Sheriff or any other law enforcement agency or any other person authorized to
’ effect personal service shall serve and return service upon the respondent, the pettion/mation and
this order at least two days before the hearing.
>. ¥l The Clerk of Court shall provide copies of this order to the parties and law ‘enforcement agencies, -
pursuant to lowa Code sections 236. 5(5) and 664A: 4.

If you need assistance to participate | in court due to a disability call the disability coordinator at (515)

> + .286-3394 or information at https:/Awww.iowacourts.gov/for-the-public/ada/. Persons who-are hearing

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 3 of 13

F-FILED DACV122471 - 2021 AUG 1911:33 AM JASPER
CLERK OF DISTRICT COURT , Page 3 of 4

or speech.impaired may call Relay lowa TTY (1-800-735- 2042), Disability coordinators cannot
provide legal advice.

SRDAO1

If you need assistance to participate in court due to a disability, call the disability coordinator at (515)
286-3394 or information at https://www.iowacourts.gov/for-the-public/ada/. Persons who are hearing
or speech impaired may call Relay lowa TTY (1-800-735-2942). Disability coordinators cannot
provide legal advice.

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 4 of 13

     
   

E-FILED DAGV 122471 - 2021 AUG 19 11:33 AM JASPER
CLERK OF D ERICT COURT Page 4 of 4

40
oh os

- State of Iowa Courts
Case Number Case Title ‘ Lo

DACV122471 COURTNEY VIOLA VANDERHART VS' NATHAN MICHAEL
WINTERS
Type: TEMPORARY PROTECTIVE ORDER

So Ordered

TER ne ML

Brad McCall, District Court Judge,
Fifth Judicial District of lowa

 

Electronically signed on 2021-08-19 11:33:32

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 5 of 13
E-FILED DACV122471 - 2021 OCT 01 10:17 AM JASPER

 

CLERK OF DISTRICT COURT Page 1 of 3
ORDER OF PROTECTION 05501 DACV122471
Judge: Richard B Clogg
‘This order can be verified.during business County JASPER State IOWA
hours with Jasper County Clerk of Court
at (641)792-3255 or at any time with the - PROTECTIVE ORDER

Jasper County Sheriff at (641)792-5912 BY CONSENT AGREEMENT
, ve (Section 236.3 Petition)

ISSUE DATE: 10/01/21

 

 

 

PETITIONER/PROTECTED PARTY: Other Protected Persons:
I

__ ___VS.

RESPONDENT/DEFENDANT: RESPONDENT Date of Birth@iy

NATHAN MICHAEL WINTERS Address for Respondent (not shared address with

' Protected Party)
lf checked, FIREARMS QD
CAUTION: (C1 WARNING for Law
Enforcement

THE COURT HEREBY FINDS:
It has jurisdiction over the parties and subject matter and the respondent has been provided with
reasonable notice and opportunity to be heard. Additional findings are set forth below.

THE COURT HEREBY ORDERS:

The above named Respondent is restrained from committing further acts of abuse or threats of
abuse. The above named Respondent is restrained from any contact with the Petitioner/Protected
Party. Additional terms of this order and exceptions to the above provisions are as set forth
below.

This order shall remain in effect until October 1, 2022 unless it is modified, terminated, extended, or
superseded by written order of the court, or until the dismissal of the case.

WARNINGS TO RESPONDENT:

This order shall be enforced, even without registration, by the courts of any state, the District
of Columbia, and U. S. Territory, and any tribal jurisdiction. 18 U.S.C. 2265. Crossing state,
territorial, or tribal boundaries to violate this order may result in federal imprisonment. 18
U.S.C. 2262. Only the court can change this order.

Federal and state laws provide penalties for possessing, transporting, shipping, or receiving
any firearm or ammunition. (18 U.S. C. 992(g)(8)}; lowa Code Section 724.26(2)(a).

Only the court canchange this order. ”

.- ? On 10/01/21, a hearing was held on the Petition for relief from domestic Abuse. The following
“persons-were present and participated in the hearing: BD and Nathan Michael
Winters ad counsel of record for each party..

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 6 of 13

E-FILED DACV 122474 - 2021 OCT 01 10:17 AM JASPER
CLERK OF DISTRICT COURT Page 2 of 3

The court FINDS by a preponderance of the evidence:

(1) Respondent was personally served with a copy of the petition and the temporary protective.
order containing notice of this hearing.

(2) The parties appeared and each consented to: the entry of this order

Therefore, pursuant to lowa Code Chapter 236, the court ORDERS as follows:
- 1. Respondent shall not threaten, assault, stalk, molest, attack, harass or otherwise abuse
the protected party. Respondent shall not use, or attempt to use, or threaten to use physical force
against the protected party that would reasonably be expected to cause bodily injury.
2. Respondent shall not communicate with the protected party in person or through any means
including third persons. This restriction shall not prohibit communication through legal counsel.
3. The protected party shall have exclusive possession of the residence located at Qi
Respondent shall not go to, enter, occupy or remain in that
residence or any other residence in which the protected party is staying, under any circumstance.

4. Additional Provisions are as follows:
Nothing in this Order prohibits the Repondent from conducting official police business. However, the
Respondent shall not enter the dispatch room if the parties are on duty at the same time. Respondent
shall have no contact with Protected Party other than emergency radio contact.
seal the entire file from public access, other than court orders and child support payment records.

Respondent was personally served with a copy of this order by the court.

The clerk of court shall provide copies of this order to the parties and law enforcement agencies,
pursuant to lowa Code sections 236.5(5) and 664A.4.

5RDAOS

If you need assistance to participate in court due to a disability, call the disability coordinator at (515)
286-3394 or information at https:/Avww.iowacourts.gov/for-the-public/ada/. Persons who are hearing

or speech impaired may call Relay lowa TTY (1-800-735-2942). Disability coordinators cannot
provide legal advice.

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 7 of 13

E-FILED DACV122471 - 2021 OCT 01 10:17 AM JASPER
CLERK OF} CT COURT Page 3 of 3

Gut

  

State of lowa Courts

Case Number - Case Title

DACV122471 COURTNEY VICLA VANDERHART V8$' NATHAN MICHAEL
WINTERS

Type: PROTECTIVE ORDER

So Ordered

Five

Richard B. Ciogg, District Court Judge,
Fifth Judicial District of Iowa

 

Electronically signed on 2021-10-01 10:17:27

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 8 of 13

 

 

 

 

 

E-FILED DACV122471 - 2021 OCT 13 12:51 PM JASPER
CLERK OF DISTRICT COURT’ Page 1 of 3
. oe, 05501 DACV122471
ORDER OF PROTECTION |: Judge: Richard B Clogg
AMENDED . County JASPER State IOWA
This order can be verified during business CANCELLATION, MODIFICATION, OR
hours with Jasper County Clerk of Court EXTENSION OF CHAPTER 236 ORDER
at (641)792-3255 or at any time with the
Jasper County Sheriff at (641)792-5912 ISSUE DATE: 10/13/21
PETITIONER/PROTECTED PARTY: Other Protected Persons:
i
VS.
RESPONDENT/DEFENDANT: RESPONDENT Date of Birth
NATHAN MICHAEL WINTERS a”

 

Address of Respondent (not shared address with

If checked, FIREARMS Protected Party
CAUTION: [1 WARNING for Law =
Enforcement
THE COURT HEREBY FINDS:

It has jurisdiction over the parties and subject matter and the respondent has been provided with
reasonable notice and opportunity to be heard. Additional findings are set forth below.

 

 

THE COURT HEREBY ORDERS:
(see below)
This modified order expires on: October 1, 2022

 

Only the court can change this order

On 10/13/21, this matter comes before the court regarding the Chapter 236 Consent order entered on
October 1, 2021.

The following persons were present and participated in the hearing:

Modified by consent of the parties and court.

The Court FINDS that:
The Protected Order by Consent Agreement should be modified as set forth herein.

The Court ORDERS as follows:
The order is modified as follows:
The following is removed from the Order: " However, the Respondent shall not enter the dispatch

- .room if the parties are on duty at the same time. Respondent shall have no contact with the

Protected Party other than emergency radio contact." The following is added to the Order:

’ "Respondent shall call dispatch only for official police purposes if the Protected Party is on

duty. Respondent may only enter the ‘building through the jail when the Protected Party is on
duty.”

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 9 of 13

E-FILED DACV122471 - 2021 OCT 13 12:51 PM JASPER
CLERK OF DISTRICT COURT Page 2 of 3

The modification is effective immediately.
To the extent not inconsistent herewith, the prior protective. order shall also remain in force.

The clerk of court shall reflect this change | in status on the domestic abuse registry and shall II notify
law enforcement regarding this order.

The Jasper County Sheriff, or any other law enforcement agency or any other person authorized to
effect personal service shall serve and return service upon the respondent.

[] Respondent was personally served with a copy of this order by the court.

The Clerk of Court shall provide copies of this order to the parties and law enforcement agencies,
pursuant to lowa Code sections 236.5(5) and 664A.4.
Copies to:

5RDA04

If you need assistance to participate in court due to a disability, call the disability coordinator at (515)
286-3394 or information at https:/Avww.iowacourts.gov/for-the-public/ada/. Persons who are hearing
or speech impaired may call Relay lowa TTY (1-800-735-2942). Disability coordinators cannot
provide legal advice.

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 10 of 13

E-FILED DACV 122471 - 2021 OCT 13 12:51 PM. JASPER

CLERK OF UISTRICT COURT - . Page 3 of 3
é ee

     

State of Iowa Courts

Case Number Case Title

DACV122471 COURTNEY VIOLA VANDERHART VS' NATHAN MICHAEL
WINTERS

Type: ORDER TO MODIFY PROTECTIVE/NO CONTACT ORDER

So Ordered

BE a
Richard B. Ciogg, District Court Judge,
Fifth Judicial District of Iowa

 

Electronically signed on 2021-10-13 12:51:39

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 11 of 13

E-FILED DACV 122471 - 2023 FEB 2203:35PM . JASPER
CLERK OF DISTRICT COURT Page 1 of 3

Rule 4.200--Form 4.203: Cancellation, Modification, or Extension of Protective Order--Domestic Abuse
(lawa Code chapter 236) ,

 

Cancellation, Modification, |. 05501 DACV122471
or Extension of Protective — Judge Terry Rickers
Order--Domestic Abuse County JASPER State IOWA

Code ch 23
lowa Code chapter 236 Issue Date 02/22/23

To verify this order during business hours, contact the JASPER County Clerk of Court office at (641)
792-3255, or anytime with the JASPER County Sheriff's Office at (641) 792-5912.

 

 

 

Plaintiff or Protected Person {Other Protected Persons use initials and birth
SD yee" for minor chitaren
v
Defendant Defendant's date of birth@>

NATHAN MICHAEL WINTERS
Defendant's address cannot be same as Plaintiff's
or Protected Person's address

CAUTION: LC! If checked, FIREARMS a
WARNING for Law Enforcement

If you need assistance to participate in court due to a disability, call the disability coordinator at (515)
286-3394 or information at https:/Avww.iowacourts.gov/for-the-publicfada/. Persons who are hearing or
speech Impaired may call Relay lowa TTY (1-800-735-2942). Disability coordinators cannot provide
legal advice.
The court finds
The court has jurisdiction over the parties and the subject matter. Defendant was
provided with actual notice of this hearing and an opportunity to participate. Additional
findings are below. This order is in effect upon service on Defendant.
Notice to Defendant
1. This order is enforceable in every state, U.S. Territory, tribal jurisdiction, and the
. District of Columbia. Violating this order outside the State of lowa may result
in federal imprisonment. 18 U.S.C. section 2262.
2. Federal and lowa felony criminal penalties for possessing, transporting,
shipping, or receiving any firearms, offensive weapons, or ammunition apply as
long as a qualifying protective order is in effect. 18 U.S.C. sections 922(d)(8), (g)
(8); lowa Code section 724.26(2).
The court orders
The Protective Order is extended to February 22, 2024.
Notice for law enforcement
Any peace officer with probable cause to believe Defendant has violated this order
must immediately arrest Defendant. lowa Code sections 236.11(1).

 

 

 

 

 

 

 

The court enters this order on whether to cancel, modify, -or extend the lowa Code
chapter 236 Protective Order issued on OCTOBER 1, 2021..:
With hearing. The court held a hearing regarding the request. Participating in the
hearing were: ,

Plaintiff or Protected Person

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 12 of 13

F-FILED DACV122471 - 2023 FEB 22 03:35 PM JASPER
CLERK OF DISTRICT COURT - Page 2 of 3

With attorney representation.
Defendant .
With attorney representation.

Following commencement of the hearing, the parties informed the Court that

they were willing to extend the existing protective order by consent. This consent
order is entered without any findings regarding the Petitioner's allegations in this
case. Nothing in this order prohibits the Respondent/Defendant from conducting
official police business. Respondent/Defendant shall call dispatch only for official
police purposes if the Protected Party is on duty. Respondent/Defendant may
only enter the building through the jail when the Protected Party is on duty. These
determinations are hereby incorporated into the additional findings and order set
forth below.

The court finds

> Defendant was personally served with a copy of the Request to Cancel, Modify,
or Extend an lowa Code chapter 236 Protective Order containing notice of the date and
time of this hearing.

The court orders

The lowa Code chapter 236 Protective Order as issued on OCTOBER 1, 2021 is
extended to FEBRUARY 22, 2024.

Court costs are waived.

The clerk of court will reflect this change in status on the IOWA System (the protective
and no contact order registry) and notify law enforcement regarding this order.

The clerk of court will provide copies of this order to Plaintiff, Defendant, any counsel of
record, the Jasper County Sheriff in the county where Defendant resides, and the 24-
hour dispatcher in the county where Defendant resides required by lowa Code sections
236.5(6) and 664A.4. If the Jasper County Sheriff determines that Defendant resides
in another county, the Jasper County Sheriff will send the order to the County Sheriff
where Defendant resides for service of the order.

Both parties were served with a copy of this order by the Court.

YDA203

 
Case 4:23-cv-00044-SHL-SBJ Document 4-2 Filed 03/02/23 Page 13 of 13

  
 
   

E-FILED DACV122471 - 2023 FEB 22 03:35 PM JASPER
CLERK OF DISTRICT COURT Page:3 of 3
. le a

a

State of lowa Courts |

Case Number Case Title

DACV122471 COURTNEY VIOLA VANDERHART VS' NATHAN MICHAEL
WINTERS

Type: Order GRANTING Motion to Extend Protective Order/NCO

So Ordered

G1

Terry Rjtkers, District Court Judge,
Fifth Jugicial District of lowa

Electronically signed on 2023-02-22 15:35:09

 
